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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               WESTERN DIVISION

CAROLYN SMITH, et al                                                                   PLAINTIFFS

VS.                                                         CAUSE NO. 5:24-cv-0072-DCB-ASH

JEFFERSON COUNTY, MISSISSIPPI,
et al                                                                               DEFENDANTS

                           MOTION FOR SUMMARY JUDGMENT

        Defendants Jefferson County, Mississippi, and Sheriff James E. Bailey (“Defendants”) file

this Motion for Summary Judgment on Plaintiffs Carolyn Smith, Shaquita McComb, Bonita Blake,

Sandra Sanders, and James Ellis Jr.’s (“Plaintiffs”) claims against them.

                                                  I.

        Plaintiffs are former employees of the Jefferson County Sheriff’s Office at the Jefferson-

Franklin Regional Correctional Facility (the “Facility”). Plaintiffs allege they were terminated

based on their support of a political candidate who challenged their former boss Sheriff Bailey in

the November 2023 general election. In contrast, Defendants assert the Plaintiffs' employments

were terminated based on performance issues.

                                                  II.

        Plaintiffs have failed to support their allegations with competent summary judgment

evidence. Specifically, Plaintiffs failed to demonstrate that Sheriff Bailey had knowledge of what

political activities any of the Defendants were engaged in with any candidate, with one exception,

Sandra Sanders. In that case, the only political act of speech or conduct was that in this case is that

one plaintiff let one candidate put a campaign yard sign in her front yard. However, Sanders

also gave permission for Sheriff Bailey to place his campaign yard sign next to it.
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                                                 III.

        Other than that, Plaintiffs made no affirmative acts of conduct or speech regarding any

candidate, known to Sheriff Bailey or otherwise, let alone protected First Amendment activity.

                                                 IV.

        Further, in two cases, there were legitimate, undisputed and documented reasons leading

to the decision not to rehire either Shaquita McComb, or Sandra Sanders. McComb, sixteen

months before the decision not to rehire her, was caught bringing into the Facility a hunting knife.

Sanders had suffered a heart attack while transporting an inmate to the hospital in 2018-19,

resulting in Sanders being in the intensive care unit of the hospital herself. Therefore, there were

undisputed reasons for the Sheriff not to rehire these employees, in addition to the point that he

did not know about the Plaintiffs' exercise of First Amendment protected activity.

                                                 V.

        Moreover, Sheriff Bailey is entitled to qualified immunity because of the absence of clearly

established law on this specific issue. In addition, the undisputed facts of this case do not justify

punitive damages, and as a matter of Mississippi law, the Plaintiffs have not proven facts sufficient

to maintain an intentional infliction of emotional distress claim, and malice does not exist as a

Mississippi tort. Consequently, the Court should grant summary judgment dismissal of Plaintiffs’

lawsuit.

                                                 VI.

        This Motion is supported by the following exhibits:

(1)     Exh. 1 - Deposition of Sandra Sanders;

(2)     Exh. 2 - Deposition of Shaquita McComb;

(3)     Exh. 3 - Jefferson-Franklin Correctional Facility letter of warning for bringing



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         in brass knuckles and hunting knife, dated August 24, 2022;

(4)      Exh. 4 - Jefferson-Franklin Correctional Facility suspension letter from Warden,

         dated August 31, 2022;

(5)      Exh. 5 - Deposition of Sheriff James Bailey;

(6)      Exh. 6 - Deposition of James Ellis, Jr.;

(7)      Exh. 7 - Deposition of Bonita Blake;

(8)      Exh. 8 - Jefferson-Franklin Correctional Facility employment manual;

(9)      Exh. 9 - Deposition of Carolyn Smith;

(10)     Exh. 10 - Deposition of Kelvin King;

(11).    Exh.11 - Inmate Housing Agreement;

         WHEREFORE, PREMISES CONSIDERED, Defendants Jefferson County, Mississippi,

and Sheriff James E. Bailey, respectfully request that this Court grant this their Motion for

Summary Judgment, with costs assessed to Plaintiffs. Defendants would also request whatever

other relief is appropriate.

         Respectfully submitted, this is the 15th day of May, 2025.

                                                    DEFENDANTS JEFFERSON COUNTY,
                                                    MISSISSIPPI and SHERIFF JAMES E.
                                                    BAILEY

                                                    BY: WISE CARTER CHILD & CARAWAY,
                                                        P.A.

                                                    BY: /s/ Thomas L. Carpenter
                                                       THOMAS L. CARPENTER, MB #9808




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this day I electronically filed the foregoing pleading with the Clerk

of the Court using the EFC system which sent notification of such filing to all counsel of record.

       SO CERTIFIED: May 15, 2025

                                                     /s/ Thomas L. Carpenter
                                                     THOMAS L. CARPENTER




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